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                           IN THE UNITED STATES DISTRICT COURT
 9                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
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      SELINA KEENE, MELODY FOUNTILA, MARK ) Case No.: 4:22-cv-01587-JSW
11    MCCLURE,                                          )                          DENYING
                                                        ) [PROPOSED] ORDER GRANTING
12          Plaintiffs,                                 ) PLAINTIFFS’ ADMINISTRATIVE
                                                        ) MOTION TO ALLOW EXPEDITED
13   v.                                                 ) DISCOVERY, L.R. 6-3, 7-11
14                                                      )
     CITY AND COUNTY OF SAN FRANCISCO;                  )
15   LONDON BREED, Mayor of San Francisco in her ) Judge: The Honorable Jeffrey S. White
     official capacity; CAROL ISEN Human Resources )
16   Director, City and County of San Francisco, in her ) Complaint filed: March 14, 2022
     official capacity; DOES 1-100,                     ) Trial Date: None set
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                                                        )
18         Defendants.                                  )
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     _________________________________________________________________________________________________________
      [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO ALLOW EXPEDITED DISCOVERY
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 1                                           [PROPOSED] ORDER
     For failure to demonstrate good cause,          DENIES
 2           For the good cause shown, the Court GRANTS Plaintiffs’ Administrative Motion to allow
     the requested
 3   expedited discovery. The Court HEREBY ORDERS: Defendant's PMKs and subpoenaed material
     ^
 4   witnesses to sit for deposition, not to exceed four hours each, at a time and date that allows the
 5   Plaintiffs adequate time to obtain a transcript of those depositions in advance of August 25, 2023,
 6   and said depositions shall remain open, and the time the Defendant's deponents spend in the
 7   preliminary injunction depositions shall not count against the seven-hour limit set forth in Federal
 8   Rule of Civil Procedure 30. Any requests for discovery relating to Plaintiff's motion at Docket No. 82 are
                                 HEREBY REFERRED to Magistrate Judge Illman for resolution.
 9          IT IS SO ORDERED.
                                                 __________________________________
10   Dated: July 18, 2023
                                                 HONORABLE JEFFREY S. WHITE
11                                               United States Senior District Judge

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      [PROPOSED] ORDER GRANTING PLAINTIFFS’ ADMINISTRATIVE MOTION TO ALLOW EXPEDITED DISCOVERY
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